Case 6:21-cv-00975-PGB-DCI Document 255 Filed 03/04/22 Page 1 of 13 PageID 7067




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


 LUCAS WALL,

                        Plaintiff,

 v.                                                      Case No: 6:21-cv-975-PGB-DCI

 CENTERS FOR DISEASE
 CONTROL & PREVENTION,
 DEPARTMENT OF HEALTH &
 HUMAN SERVICES, GREATER
 ORLANDO AVIATION
 AUTHORITY and CENTRAL
 FLORIDA REGIONAL
 TRANSPORTATION
 AUTHORITY,

                        Defendants.
                                              /

                                             ORDER

         This cause comes before the Court on Plaintiff Lucas Wall’s Time-Sensitive

 Motion for a Preliminary Injunction against Defendants the Centers for Disease

 Control and Prevention and the Department of Health and Human Services

 (collectively, the “Federal Defendants”) (Doc. 191 (the “Motion”)), the Federal

 Defendants’ response in opposition (Doc. 199), and Plaintiff’s Second Motion for

 Leave to File a Reply Brief (Doc. 201).1 In his Motion, Plaintiff, wanting to fly to




 1    On December 29, 2021, the day after he filed this Motion, Plaintiff filed his First Motion for
      Leave to File a Reply Brief. (Doc. 192). The Court denied it without prejudice as premature,
      stating that Plaintiff can move for leave to file a reply brief once the Federal Defendants
      submitted their response in opposition. (Doc. 196).
Case 6:21-cv-00975-PGB-DCI Document 255 Filed 03/04/22 Page 2 of 13 PageID 7068




 Germany to visit his family, seeks a “worldwide” preliminary injunction against the

 Federal Defendants’ enforcement of two mandates issued in response to the

 COVID-19 pandemic: the federal transportation mask mandate (“FTMM”), which

 requires individuals traveling via public transportation to wear a mask; and the

 international traveler testing requirement (“ITTR”), which requires international

 travelers to obtain a negative COVID-19 test prior to departure to the United States

 from a foreign country. (Docs. 191, 191-1).2 Recognizing that the Court may have

 qualms about enjoining the Federal Defendants on a global scale, Plaintiff presents

 two alternatives: a preliminary injunction against the Federal Defendants’

 enforcement of the FTMM as to “any person who self-declares a medical condition

 that prevents them from safely wearing a face covering” 3; or a preliminary

 injunction against the Federal Defendants’ enforcement of the FTMM and the

 ITTR as to Plaintiff, only, to accommodate his constantly-rescheduled flight to

 Germany. (Doc. 191, p. 1 n.1; Doc. 191-2, p. 1; Doc. 191-3, pp. 1–2).

        To obtain a preliminary injunction, Plaintiff, as the movant, must establish:

 (1) a substantial likelihood of success on the merits of the underlying case; (2)

 irreparable injury in the absence of the proposed preliminary injunction; (3) the


 2   Originally, Plaintiff also sued the Transportation Security Administration (“TSA”), the
     Department of Homeland Security (“DHS”), the Department of Transportation (“DOT”),
     President Joseph R. Biden, Jr., the Greater Orlando Aviation Authority (“GOAA”), and the
     Central Florida Regional Transportation Authority (“LYNX”). (Doc. 1). On December 18,
     2021, the Court dismissed with prejudice Plaintiff’s claims against the TSA, the DHS, the DOT,
     and the President (Doc. 187), and Plaintiff does not request preliminary injunctive relief as to
     the GOAA and LYNX (Doc. 191, p. 2 n.2).
 3   Notably, Plaintiff still proposes a worldwide preliminary injunction against the Federal
     Defendants’ enforcement of the ITTR. (Doc. 191-2, p. 2).



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Case 6:21-cv-00975-PGB-DCI Document 255 Filed 03/04/22 Page 3 of 13 PageID 7069




 threatened injury to the movant exceeds the damage that the preliminary

 injunction may cause the opposing party; and (4) the preliminary injunction would

 not disserve the public interest. Swain v. Junior, 961 F.3d 1276, 1284–85 (11th Cir.

 2020).4 Ultimately, “a preliminary injunction is an extraordinary and drastic

 remedy not to be granted unless the movant clearly establishe[s] the ‘burden of

 persuasion’ as to each of the four prerequisites.” Siegel v. LePore, 234 F.3d 1163,

 1176 (11th Cir. 2000) (per curiam) (quoting McDonald’s Corp. v. Robertson,

 147 F.3d 1301, 1306 (11th Cir. 1998)).

        After careful consideration of the record and the parties’ respective briefs,

 the Court concludes that a reply brief and/or a hearing on the Motion are

 unnecessary5 because it is obvious that Plaintiff lacks an irreparable injury, “the

 sine qua non of [preliminary] injunctive relief.” Ne. Fla. Chapter of Ass’n of Gen.

 Contractors of Am. v. City of Jacksonville, 896 F.2d 1283, 1285 (11th Cir. 1990)

 (internal quotations omitted); Siegel, 234 F.3d at 1176 (“Significantly, even if

 Plaintiffs establish a likelihood of success on the merits, the absence of a

 substantial likelihood of irreparable injury would, standing alone, make

 preliminary injunctive relief improper.”). Thus, the Court finds that the matter is

 ripe for review and that the Motion is due to be denied.



 4   Where, as here, the government is the opposing party, the third and fourth factors “merge.”
     Id. at 1293 (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)).
 5   “A district court has inherent authority to manage its own docket ‘so as to achieve the orderly
     and expeditious disposition of cases.’” Equity Lifestyle Props., Inc. v. Fla. Mowing &
     Landscape Serv., Inc., 556 F.3d 1232, 1240 (11th Cir. 2009) (quoting Chambers v. NASCO,
     Inc., 501 U.S. 32, 43 (1991)).



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Case 6:21-cv-00975-PGB-DCI Document 255 Filed 03/04/22 Page 4 of 13 PageID 7070




        In his Motion, Plaintiff asserts three purported irreparable injuries. First,

 Plaintiff worries that he will be unable to find a rapid COVID-19 test within the

 time frame delineated by the ITTR in Germany and thus be “stranded abroad.”

 (Doc. 191, pp. 22).6 This professed irreparable injury is both remote and

 speculative and cannot entitle Plaintiff to a preliminary injunction against

 enforcement of the ITTR. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22

 (2008) (“Issuing a preliminary injunction based only on a possibility of irreparable

 harm is inconsistent with our characterization of injunctive relief as an

 extraordinary remedy that may only be awarded upon a clear showing that the

 plaintiff is entitled to such relief.”); Siegel, 234 F.3d at 1176 (“As we have

 emphasized on many occasions, the asserted irreparable injury must be neither

 remote nor speculative, but actual and imminent.” (internal quotations omitted)).7

        Second, Plaintiff insists that he continues to miss his periodically postponed

 flight to Germany because of his inability to wear a mask while travelling pursuant

 to the FTMM. (Doc. 191, pp. 21–22).8 This is a sufficient injury for standing

 purposes—but it is certainly not an irreparable one warranting preliminary


 6   “I face a strong possibility I would suffer the irreparable injury of being stranded abroad if
     access to rapid COVID-19 testing within a day of departure is not available.” (Id. at p. 22).

 7   In Plaintiff’s Second Motion for Leave to File a Reply Brief, he states that “[h]arm from being
     stranded abroad due to lack of test availability is not speculative, as seen by the shortage of
     tests right here in America.” (Doc. 201, p. 2). A shortage of COVID-19 tests in America does
     not demonstrate a shortage of COVID-19 tests in Germany.
 8   “I’m suffering irreparable harm of being banned from the nation’s entire public[]
     transportation system due to the FTMM because I medically can’t wear a face mask even
     though I’ve been fully vaccinated and boosted as the [Centers for Disease Control and
     Prevention] urge[].” (Id. at p. 21).



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Case 6:21-cv-00975-PGB-DCI Document 255 Filed 03/04/22 Page 5 of 13 PageID 7071




 injunctive relief. Plaintiff’s desire to, in his words, “release [his] pent-up

 wanderlust” is not an emergency, and his Motion fails to identify any other

 exigency justifying the issuance of a preliminary injunction against the Federal

 Defendants’ enforcement of the FTMM. (Id. at p. 23). Even accepting as true

 Plaintiff’s unsupported claim that his medical conditions prevent him from

 wearing a mask, Plaintiff fails to demonstrate that he has exhausted the procedure

 for obtaining an exemption from the FTMM for his prospective trip to Germany. 9

 And the outright refusal to wear a mask, without possessing a valid exemption from

 the FTMM, is a voluntary choice, not irreparable harm. See Scroos LLC v. Att’y

 Gen. of the United States, No. 6:20-cv-689, 2020 WL 5534281, at *3 (M.D. Fla.

 Aug. 27, 2020) (first citing Salt Lake Trib. Publ’g Co. v. AT&T Corp., 320 F.3d

 1081, 1106 (10th Cir. 2003); then citing Bellin v. La Pensee Condo. Ass’n, No. 05-

 80071-CIV, 2005 WL 8156021, at *9 (S.D. Fla. Oct. 13, 2005), report and

 recommendation adopted, 2006 WL 8433644 (S.D. Fla. Jan. 6, 2006); and then


 9   Plaintiff mentions that he missed numerous flights because of his inability to wear a mask
     while travelling pursuant to the FTMM, but the basis of this Motion is Plaintiff’s future flights,
     not his prior flights. (Id. at pp. 21–22). Preliminary injunctive relief is, of course, forward-
     looking, to prevent irreparable harm, not to remedy past harms, which is the purpose of this
     lawsuit. See Winter, 555 U.S. at 22; Siegel, 234 F.3d at 1176.

     Plaintiff also mentions that “multiple airlines” have denied his applications for exemptions
     from the FTMM, but, again, the Motion is silent regarding Plaintiff’s efforts to obtain an
     exemption for his flight to Germany. (Id. at p. 2). In fact, in his Second Motion for Leave to
     File a Reply Brief, Plaintiff states: “I have not attempted to obtain a mask exemption for this
     next flight because doing so would be futile given the illegal procedures United [Airlines] may
     use as stated in the FTMM. Many others have tried to get mask exemptions from United
     [Airlines] and been denied. The exemption process is illegal and a total farce.” (Doc. 201, p.
     1). Plaintiff’s perceived futility of the exemption procedure, based on his predictions of United
     Airline’s actions and others’ experiences, does not allow him to bypass that process with a
     preliminary injunction. The fact remains that Plaintiff chooses not to pursue the options
     available to him.



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Case 6:21-cv-00975-PGB-DCI Document 255 Filed 03/04/22 Page 6 of 13 PageID 7072




 citing 11A CHARLES ALAN WRIGHT, ARTHUR R. MILLER & MARY KAY KANE, FEDERAL

 PRACTICE AND PROCEDURE § 2948.1 (3d ed. 2020)) (“Self-inflicted wounds do not

 constitute irreparable harm.”). Plaintiff can still fly in compliance with the FTMM,

 or he can apply for an exemption to the FTMM, or he can continue changing his

 Germany flight. (See Docs. 186, 203, 215, 218, 220, 227). Regardless, this lawsuit

 adequately addresses Plaintiff’s constitutional and statutory challenges to the

 mandate.

       In other words, the likelihood that Plaintiff will decide to continue delaying

 his vacation to Germany during the pendency of this action, rather than go on his

 trip and comport with the FTMM or apply for an exemption to the FTMM, is simply

 not an urgent situation requiring the “extraordinary and drastic remedy” of a

 preliminary injunction. The inconvenience to Plaintiff of rescheduling his

 European sojourn is not an irreparable injury.

       Third, Plaintiff contends that the ITTR and the FTMM violate his

 constitutional rights and, therefore, he possesses an irreparable harm. (Doc. 191,

 pp. 21–22). This assertion is contrary to binding precedent. The Eleventh Circuit

 has determined that an alleged violation of constitutional rights does not always

 constitute irreparable harm: “The only areas of constitutional jurisprudence where

 we have said that an on-going violation may be presumed to cause irreparable

 injury involve the right of privacy and certain First Amendment claims establishing

 an imminent likelihood that pure speech will be chilled or prevented altogether.”

 Siegel, 234 F.3d at 1178. This case does not implicate the right of privacy or the



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Case 6:21-cv-00975-PGB-DCI Document 255 Filed 03/04/22 Page 7 of 13 PageID 7073




 First Amendment. (See Doc. 188). Indeed, in his Motion, Plaintiff only references

 his Fifth Amendment right to due process and his right to travel. (Doc. 191, pp. 13–

 16, 20–23).

         Furthermore, the convoluted, extensive procedural posture of this case

 bolsters the Court’s judgment.10 Plaintiff initiated this action on June 7, 2021.

 (Doc. 1). Three days later, Plaintiff filed an Emergency Motion for a Temporary

 Restraining Order against the Federal Defendants’ enforcement of the FTMM and

 the ITTR (Doc. 8), which the Court denied on June 15, 2021, for lack of irreparable

 injury. (Doc. 28).

         On June 11, 2021, Plaintiff filed a Time-Sensitive Motion to Exceed the

 Court’s Page Limits, seeking the Court’s permission to file a 50-page request for

 preliminary injunctive relief (Doc. 9), which the Court denied that same day (Doc.

 10). In blatant defiance of this ruling and Local Rule 3.01(a), which provides that

 motions and other legal memorandums must consist of “a single document no

 longer than [25] pages inclusive of all parts,” Plaintiff filed two 25-page Motions

 for Preliminary Injunctive Relief on June 17, 2021, and June 18, 2021, respectively.

 (Docs. 33, 36). Thus, on June 22, 2021, United States Magistrate Judge Daniel

 Irick struck them, allowing Plaintiff to refile one 25-page request for preliminary

 injunctive relief. (Doc. 55).




 10   Given the bloated state of this file, a consequence of Plaintiff’s inundation of the docket with
      unnecessary filings, the Court restricts its discussion of this case’s history to those details that
      are directly relevant here.



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Case 6:21-cv-00975-PGB-DCI Document 255 Filed 03/04/22 Page 8 of 13 PageID 7074




         Instead of doing so, Plaintiff filed an Emergency Motion to Vacate

 Magistrate Judge Irick’s Order Striking Plaintiff’s Motions for Preliminary

 Injunctive Relief (Doc. 56), which the Court denied, noting Plaintiff’s disingenuous

 conduct (Doc. 67).11 The Court also explained that Plaintiff’s travel plans do not

 constitute an “Emergency” and warned him that further violation of Local Rule

 3.01(e) would result in appropriate sanctions. (Id. at pp. 6–7).

         Meanwhile, Plaintiff appealed these rulings in the Court of Appeals for the

 Eleventh Circuit (Docs. 58, 59, 60),12 which the Eleventh Circuit dismissed,

 highlighting that Plaintiff’s “refusal to refile his preliminary injunction motion in

 [this Court] in compliance with the [] [L]ocal [R]ules . . . [was] an insufficient basis

 for [the] exercise [of] appellate jurisdiction.” (Doc. 74, p. 2; see Doc. 70).

 Thereafter, Plaintiff submitted an Emergency Application for a Writ of Injunction

 in the Supreme Court of the United States (Doc. 89), which Justice Clarence

 Thomas summarily denied on July 14, 2021 (Doc. 91).13


 11   Additionally, Plaintiff filed a Motion to Disqualify Magistrate Judge Irick, accusing him of
      bias. (Doc. 61). Magistrate Judge Irick denied the Motion to Disqualify, correctly holding that
      Plaintiff’s dissatisfaction with his Order Striking Plaintiff’s Motions for Preliminary Injunctive
      Relief is not a basis for recusal. (Doc. 98).
 12   Not only did Plaintiff attempt to appeal the Court’s Order Denying Plaintiff’s Request for a
      Temporary Restraining Order (Doc. 28) and Magistrate Judge Irick’s Order Striking Plaintiff’s
      Motions for Preliminary Injunctive Relief (Doc. 55), but Plaintiff also sought to appeal the
      Court’s Order Referring the Case to Magistrate Judge Irick for Reports and
      Recommendations, issued on June 17, 2021 (Doc. 31).
 13   In their response brief, the Federal Defendants state that Plaintiff (and various individuals
      that he is “working collectively with”) filed emergency motions for preliminary injunctive
      relief against the TSA’s enforcement of the FTMM in the Second, Fourth, Fifth, Sixth, Eighth,
      and Eleventh Circuits. (Doc. 199, pp. 14–15). The Fourth and Eighth Circuits rejected the
      requests, and the Second, Fifth, Sixth, and Eleventh Circuits transferred the cases to the D.C.
      Circuit, which then rejected the requests. (Id.). The Federal Defendants also state that Plaintiff



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Case 6:21-cv-00975-PGB-DCI Document 255 Filed 03/04/22 Page 9 of 13 PageID 7075




       Yet Plaintiff failed to refile the instant Motion until December 28, 2021, over

 six months from his first improper request(s) and five months from the Eleventh

 Circuit’s dismissal of his appeal, which “note[d]” Plaintiff’s “refusal to refile his

 preliminary injunction motion . . . in compliance with [this] [C]ourt’s [L]ocal

 [R]ules.” (Doc. 74, p. 2). In the interim, Plaintiff buried this Court in an avalanche

 of other filings, waiting, inexplicably, to bring this Motion until 10 days after the

 Court issued an opinion evaluating three Motions to Dismiss the Complaint,

 competing Motions for Summary Judgment, Magistrate Judge Irick’s Report and

 Recommendations as to all these disparate requests, Plaintiff’s Objection thereto,

 and all the pertinent responses and replies to the above (Doc. 187). Plaintiff’s

 egregious—and unexplained—inaction clearly exposes his lack of irreparable

 injury. Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir. 2016) (“A

 delay in seeking a preliminary injunction of even only a few months—though not

 necessarily fatal—militates against a finding of irreparable harm. . . . the very idea

 of a preliminary injunction is premised on the need for speedy and urgent action

 to protect a plaintiff’s rights before a case can be resolved on its merits. For this

 reason, our sister circuits and district courts within this Circuit and elsewhere have

 found that a party’s failure to act with speed or urgency in moving for a preliminary




    filed another emergency application for a preliminary injunction against the TSA’s
    enforcement of the FTMM with the Supreme Court on November 29, 2021, which Chief
    Justice John Roberts denied without comment, without reference of the matter to the full
    Supreme Court, and without any noted dissent. (Id. at p. 15). On December 21, 2021, Plaintiff
    filed an identical request with the Supreme Court, which Justice Gorsuch distributed for the
    Supreme Court’s January 14, 2022, Conference. (Id. at p. 15 n.3).



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Case 6:21-cv-00975-PGB-DCI Document 255 Filed 03/04/22 Page 10 of 13 PageID 7076




  injunction necessarily undermines a finding of irreparable harm.” (internal

  citations omitted)).

        Unfortunately, the Court’s summary of the background of this case cannot

  end here. The history of this case not only contravenes Plaintiff’s claim of

  irreparable injury, but it also reveals Plaintiff’s sanctionable conduct. Specifically,

  in light of the above rulings, the Court struck the “Time-Sensitive” designation

  from this Motion as another violation of Local Rule 3.01(e) on January 4, 2022.

  (Doc. 196). In doing so, the Court again explained that Plaintiff’s travel plans do

  not rise to the level of exigency that justifies expedited relief and repeated its

  sanctions warning. (Id. at pp. 2–3). Despite this admonition, on January 10, 2022,

  Plaintiff filed a Notice of International Flight Rebooking, requesting the Court to

  rule on the Motion “no later than” January 21, 2022, so that he can fly to Germany.

  (Doc. 203). The Court found that although Plaintiff did not designate this filing as

  “Time-Sensitive” or an “Emergency,” the explicit demand for immediate attention

  amounted to such a label. (Doc. 211). Emphasizing that, throughout this litigation,

  Plaintiff has tiresomely attempted to find loopholes to the Court’s Local Rules and

  has displayed impertinent disregard for the Court’s busy docket, the Court revoked

  Plaintiff’s electronic filing privileges and advised him that further violations of its

  Orders and Local Rules would result in monetary sanctions. (Id.).

        A few days later, Plaintiff filed “Objections” to the Court’s Sanction Order.

  (Doc. 214). Plaintiff also filed a second Notice of International Flight Rebooking,

  this time requesting a ruling on the Motion prior to his rescheduled flight to



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Case 6:21-cv-00975-PGB-DCI Document 255 Filed 03/04/22 Page 11 of 13 PageID 7077




  Germany on January 30, 2022, fully aware that his demand violated the Court’s

  Sanction Order. (Doc. 215).14 Once that “deadline” elapsed, Plaintiff filed a third

  Notice of International Flight Rebooking, requesting a ruling on the Motion by his

  re-rescheduled flight to Germany on February 6, 2022 (Doc. 218), and, to this date,

  he continues to follow this pattern, each time requesting that the Court rule on the

  Motion by a certain day (Docs. 220, 227, 238).15

           As to Plaintiff’s “Objections,” parties cannot object to an order by a United

  States District Court, and therefore the Court strikes this filing as improper. Cf.

  FED. R. CIV. P. 72 (allowing parties to object to a Magistrate Judge’s non-dispositive

  orders and Reports and Recommendations). Furthermore, when the Court

  revoked Plaintiff’s electronic filing privileges, it intended to exclude Plaintiff from

  its electronic filing system completely, unaware that the Middle District of Florida


  14   “I suppose I don’t dare ask for a ruling by another specific day, but the Court’s conduct will
       not deter me from asserting what is critically important to my family and me.” (Id. at p. 2).
  15   In addition to his travel plans, some of these Notices of International Flight Rebooking cite
       Plaintiff’s brother’s separation from his wife, Plaintiff’s sister-in-law, as the basis for Plaintiff’s
       “urgent need to travel.” (Doc. 215, p. 2; see also Docs. 218, 220, 227, 238). The personal lives
       of third parties to this litigation do not constitute an “Emergency” situation under Local Rule
       3.01(e).

       Further, in his Second Motion for Leave to File a Reply Brief, Plaintiff states: “The ability to
       change flights does not negate the irreparable harm of lost time spent with family abroad.
       Also, my brother and/or his wife could die before a final merits decision is reached, and there
       would be no way to rewind time to see them one final time.” (Doc. 201, p. 1). For the reasons
       stated above, “lost time” is an injury, but not an irreparable one. Moreover, the Court notes
       that this is the first time throughout the course of this nine-month litigation that Plaintiff has
       expressed concern over his relations dying, and he does not provide any reasonable basis for
       this fear, such as a serious illness or debilitating accident. Interestingly, Plaintiff does not
       mention this concern in the Notices of International Flight Rebooking, including the ones filed
       after the Second Motion for Leave to File a Reply Brief. Death is certain and unpredictable—
       the Court cannot hand out preliminary injunctions on this ground alone. Otherwise,
       preliminary injunctions would proliferate, and the irreparable injury component would be a
       nullity.



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Case 6:21-cv-00975-PGB-DCI Document 255 Filed 03/04/22 Page 12 of 13 PageID 7078




  established an electronic filing portal for pro se litigants during the COVID-19

  pandemic. Consequently, the Court’s sanction, meant to subdue the overwhelming

  amount of unnecessary and irrelevant filings by Plaintiff, has been ineffective. This

  portal is for unrestricted pro se litigants, not those who, like Plaintiff, have been

  sanctioned for violating the Court’s Orders. Accordingly, the Court clarifies its

  Sanctions Order and, particularly given Plaintiff’s recent violations of that Order,

  directs the Clerk of Court to restrict Plaintiff’s access to the portal. Plaintiff must

  submit future filings in person or by mail, the typical rule for pro se parties.16

          As to Plaintiff’s litany of Notices of International Flight Rebooking, the Court

  strikes these as violations of its Sanctions Order. If Plaintiff files any future Notice

  of International Flight Rebooking, or anything similar, or in any other way violates

  any of the Court’s Orders, then the Court will immediately strike the offending

  document without further notice to Plaintiff and refer it to Magistrate Judge Irick

  for a Report and Recommendations regarding appropriate sanctions.

          Therefore, it is hereby ORDERED AND ADJUDGED as follows:

          1.      Plaintiff’s Motion for a Preliminary Injunction Against the Federal

                  Defendants (Doc. 191) is DENIED.

          2.      Plaintiff’s Second Motion for Leave to File a Reply Brief (Doc. 201) is

                  DENIED.




  16   The Court further clarifies that its Sanctions Order does not revoke Plaintiff’s ability to receive
       electronic notice of filings by Defendants. Rather, the Court limits the sanction to Plaintiff’s
       ability to file electronically.



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Case 6:21-cv-00975-PGB-DCI Document 255 Filed 03/04/22 Page 13 of 13 PageID 7079




        3.    The Clerk of Court is DIRECTED to strike Plaintiff’s “Objections” to

              the Court’s Sanctions Order (Doc. 214).

        4.    The Clerk of Court is DIRECTED to strike Plaintiff’s Notices of

              International Flight Rebooking (Docs. 215, 218, 220, 227, 238). The

              Court advises Plaintiff that any future Notice of International Flight

              Rebooking, or anything similar, or any other violation of any of the

              Court’s Orders will result in reference of the matter to Magistrate

              Judge Irick for a Report and Recommendations regarding

              appropriate sanctions.

        DONE AND ORDERED in Orlando, Florida on March 7, 2022.




  Copies furnished to:

  Counsel of Record
  Unrepresented Parties




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